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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 THE STATE OF TEXAS, ET AL.          §
                                     §
                                     §
 v.                                  §           CIVIL NO. 4:20-CV-957-SDJ
                                     §
                                     §
 GOOGLE LLC                          §


                            ORDER OF SPECIAL MASTER

      The Special Master hearing set for May 29, 2024, after the Court’s Status

Conference, is cancelled.



Signed this 29th day of May, 2024.




                                         _             ________
                                         David T. Moran
                                         Special Master
                                         TXBN: 14419400
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                                         Dallas, Texas 75201
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                            CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing Order of Special Master was filed

electronically in compliance with Local Rule CV-5(a) on this 29th day of May 2024. As

such, this document was served on all counsel who are deemed to have consented to

electronic service. Local Rule CV-5(a)(3)(A).



                                           _              _______
                                           David T. Moran




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